Case 22-20196-tnw       Doc 22      Filed 04/08/22 Entered 04/08/22 13:14:37           Desc Main
                                    Document     Page 1 of 2




                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                       COVINGTON DIVISION

   IN RE:                                                     CHAPTER 13

   SARAH JANE THOMAS-CLOS                                     CASE NO. 22-20196

   DEBTOR


                                       AGREED ORDER

          Motion having been made and this Court having held an emergency telephonic

   hearing which was continued until 3:00 p.m. due to entry of appearance of Counsel for

   the Creditor, Auto Mart, and the Court being sufficiently advised,

          IT IS HEREBY ORDERED AND ADJUDGED that the Creditor, Tommy

   Henderson d/b/a Auto Mart, shall return the 2011 Malibu vehicle to the Debtor by

   delivery to her home forthwith, but in no event later than 6:00 p.m. EST on Friday, April

   8, 2022. Upon the filing of the bankruptcy case, the Debtor's interest in the vehicle

   became property of the bankruptcy estate pursuant to 11 U.S.C. 541. Auto Mart shall also

   issue a new temporary tag for the vehicle so that the titling of the vehicle can be resolved

   by further order or agreement.

          IT IS FURTHER ORDERED AND AGREED, that the continued hearing set for

   April 8, 2022 at 3:00 p.m., is hereby stricken from the Court's docket.



   Pursuant to local rule 9022-1 (C), I, Delores Woods Baker, shall cause a copy of this
   order to be served on each of the parties designated to receive this order pursuant to LR
   9022-1(a) and shall file with the court a certificate of service of the order upon such
   parties within ten (10) days hereof.

   Distribution List:
   Via electronic filing:
Case 22-20196-tnw       Doc 22   Filed 04/08/22 Entered 04/08/22 13:14:37   Desc Main
                                 Document     Page 2 of 2



   Hon. Beverly M. Burden, Chapter 13 Trustee
   Hon. Michael B. Baker, Attorney for Auto Mart
   All others requesting electronic notice

   HAVE SEEN AND AGREE:

   \s\Delores Woods Baker
   DELORES WOODS BAKER, P.S.C.
   Attorney for Debtor, 134 West Third Street
   Maysville, Kentucky 41056
   606-564-7969

    /s/ Michael B. Baker
   Michael B. Baker (KY-91890)
   THE BAKER FIRM, PLLC
   301 W. Pike Street
   Covington, KY 41011
   (859) 647-7777
   Fax: (859) 657-7124
   mbaker@bakerlawky.com
